
658 S.E.2d 482 (2008)
James T. BARNES, Jr., and Loris D. Hill
v.
Wyvonia B. DANCY.
No. 537P07.
Supreme Court of North Carolina.
January 24, 2008.
Dal F. Wooten, Kinston, for Barnes and Hill.
Glen A. Barfield, Goldsboro, for Dancy.

ORDER
Upon consideration of the petition filed on the 6th day of November 2007 by Plaintiffs in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 24th day of January 2008."
